      Case 2:24-cr-00091-ODW         Document 98 Filed 08/05/24         Page 1 of 11 Page ID
                                             #:1286


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     Attorneys for Defendant, ALEXANDER SMIRNOV
8
                                UNITED STATES DISTRICT COURT
9
                               CENTRAL DISTRICT OF CALIFORNIA
10                                        ******

11
     UNITED STATES OF AMERICA,           )             CASE NO. 2:24-CR-00091-ODW
12                                       )
                       Plaintiff,        )             DEFENDANT’S NOTICE OF
13
                                         )             MOTION AND MOTION FOR
14   v.                                  )             ACCESS TO CIPA § 4 FILING
                                         )
15
     ALEXANDER SMIRNOV,                  )
16                                       )
                       Defendant,        )             Honorable Otis D. Wright II
17   ____________________________________)             September 9, 2024 at 10:00 a.m.
18
            PLEASE TAKE NOTICE that on September 9, 2024 at 10:00 a.m., or as soon thereafter
19
     as counsel may be heard, Defendant, ALEXANDER SMIRNOV (“Mr. Smirnov”), by and through
20

21   his attorneys, DAVID Z. CHESNOFF, ESQ., and RICHARD A. SCHONFELD, ESQ., of the law

22   firm of CHESNOFF & SCHONFELD, will ask this Honorable Court to enter an order granting
23   his Motion to Motion for Access to Government’s CIPA § 4 Filing.
24
            This Motion is made and based upon the attached Memorandum of Points and Authorities,
25
     and upon the government’s apparent filing of an ex parte, in camera motion (and related
26
     documents) to invoke the Confidential Information Procedures Act (“CIPA”) to excuse provision
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28   of complete discovery in this case. See ECF Nos. 86 (Government’s Notice of Manual Filing of
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      Case 2:24-cr-00091-ODW          Document 98 Filed 08/05/24            Page 2 of 11 Page ID
                                              #:1287


1    Classified Motion for Protective Order under CIPA § 4), 87 (application to exceed page length)
2    (June 24, 2024); see also ECF No. 89 (Order “accept[ing] the Government’s ex parte, in camera
3
     and sealed Motion and Memorandum of Law in Support for a Protective Order as filed with the
4
     Classified Security Officer”) (June 25, 2024).
5
            On August 2, 2024, government counsel advised defense counsel that the government
6

7    opposes the present motion.

8           Dated this 5th day of August, 2024.

9                                                 Respectfully Submitted:
10
                                                  CHESNOFF & SCHONFELD
11
                                                   /s/ David Z. Chesnoff
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18                                                Attorneys for Defendant
19                                                ALEXANDER SMIRNOV

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      Case 2:24-cr-00091-ODW            Document 98 Filed 08/05/24           Page 3 of 11 Page ID
                                                #:1288


1                          MEMORANDUM OF POINTS AND AUTHORITIES
2
     A.        Background
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               As shown above, it appears that on June 24, 2024, the Government has filed in the present
4

5    case an ex parte, in camera motion to invoke the Confidential Information Procedures Act

6    (“CIPA”) to excuse their provision of complete discovery in this case. See ECF Nos. 86, 87. It
7    further appears that this Court 1) “accept[ed] the Government’s ex parte, in camera and sealed
8
     Motion and Memorandum of Law” on June 25, 2024 (ECF No. 89), and 2) signed the
9
     government’s proposed order (with no amendments) on July 17, 2024—but did not enter that order
10
     on the docket until July 22, 2024. See ECF No. 94. Nevertheless, and without having seen any of
11

12   these secret materials, Mr. Smirnov respectfully urges the Court to invoke CIPA and craft an order

13   permitting undersigned defense counsel restricted, “eyes-only” access to the complete cache of

14   discovery under seal.
15   B.        CIPA’s Possible Impact on the Present Case: The Limited Provision of Substitute
16             “Summaries” in Lieu of the Complete Discovery Mandated Under Brady

17             “CIPA procedures . . . endeavor to harmonize a defendant’s right to a fair trial with the
18
     government’s right to protect classified information.” United States v. Sedaghaty, 728 F.3d 885,
19
     903–05 (9th Cir. 2013) (citing United States v. Abu–Jihaad, 630 F.3d 102, 140 (2d Cir. 2010)).
20
     “While the government must safeguard classified information . . . , ‘courts must not be remiss in
21

22   protecting a defendant’s right to a full and meaningful presentation of his claim to innocence.’”

23   Sedaghaty, 728 F.3d at 903 (quoting United States v. Fernandez, 913 F.2d 148, 154 (4th Cir.

24   1990)).
25             While CIPA does not “expand or restrict established principles of discovery” and “does
26
     not have a substantive impact on the admissibility of probative evidence,” Sedaghaty, 728 F.3d at
27
     903 (citing United States v. Johnson, 139 F.3d 1359, 1365 (11th Cir.1998); S. Rep. No. 96–823 at
28
                                                       3
         Case 2:24-cr-00091-ODW         Document 98 Filed 08/05/24              Page 4 of 11 Page ID
                                                #:1289


1    8, reprinted in 1980 U.S.C.C.A.N. at 4301–03), it does “establish[] procedures for handling
2    classified information in criminal cases,” United States v. Aref, 533 F.3d 72, 78 (2d Cir. 2008), so
3
     that trial courts may rule “on questions of admissibility involving classified information before
4
     introduction of the evidence in open court,” United States v. Sarkissian, 841 F.2d 959, 965 (9th
5
     Cir. 1988) (citation omitted) (emphasis added); see also Sedaghaty, 728 F.3d at 903-04.
6

7            Section 4 of CIPA provides:

8            The court, upon a sufficient showing, may authorize the United States [1]
             to delete specified items of classified information from documents to be
9            made available to the defendant through discovery under the Federal Rules
             of Criminal Procedure, [2] to substitute a summary of the information for
10
             such classified documents, or [3] to substitute a statement admitting
11           relevant facts that the classified information would tend to prove.

12   18 U.S.C. app. 3 § 4.

13           The district court’s first task under Section 4 is to “determine whether, pursuant to the
14
     Federal Rules of Criminal Procedure, statute, or the common law, the information at issue is
15
     discoverable . . . .” Sedaghaty, 728 F.3d at 904 (citing United States v. Rewald, 889 F.2d 836, 847–
16
     48 (9th Cir. 1989)). If it is, then “the court must next determine whether the government has made
17

18   a formal claim of the state secrets privilege, ‘lodged by the head of the department which has actual

19   control over the matter, after actual personal consideration by that officer.’” Sedaghaty, 728 F.3d

20   at 904 (quoting United States v. Klimavicius–Viloria, 144 F.3d 1249, 1261 (9th Cir.1998) and
21
     United States v. Reynolds, 345 U.S. 1, 7–8 (1953)). 1
22

23   1
             While we presume that the Special Counsel’s Office has marked its Section 4 motion with
24   a banner line and (for certain paragraphs) portion marks indicating classification status, that Office
     is not an original classification authority under Executive Order 13526. Any classification of the
25   Office’s submission is derivative of the classification of the materials it discusses, and
     prosecutorial claims regarding sensitivity do not change that. See In re Terrorist Attacks On Sept.
26   11, 2001, 523 F. Supp. 3d 478, 498 (S.D.N.Y. 2021) (“Simply saying ‘military secret,’ ‘national
     security’ or ‘terrorist threat’ or invoking an ethereal fear that disclosure will threaten our nation is
27
     insufficient to support the privilege.” (cleaned up)). Relatedly, to obtain relief under Section 4, the
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                                                        4
      Case 2:24-cr-00091-ODW           Document 98 Filed 08/05/24             Page 5 of 11 Page ID
                                               #:1290


1           If the material is both discoverable and covered by the state secrets privilege, “then the
2    court must determine whether the evidence is ‘relevant and helpful to the defense of an accused.’”
3
     Sedaghaty, 728 F.3d at 904 (quoting Roviaro v. United States, 353 U.S. 53, 60–61 (1957)
4
     (emphasis added)). “If the information meets the ‘relevant and helpful’ test, CIPA § 4 empowers
5
     the court to determine the terms of discovery, if any.” Sedaghaty, 728 F.3d at 904 (quoting 18
6

7    U.S.C. app. 3 § 4).

8           In turn, Section 6 of CIPA:

9           guides the procedures for making “determinations concerning the use . . . of
            classified information . . . .” 18 U.S.C. app. 3 § 6(a). Specifically, CIPA § 6(c)(1)
10
            deals with substitutions and provides that a court may authorize a substitution for
11          classified material in the form of a statement or summary “if it finds that the
            statement or summary will provide the defendant with substantially the same
12          ability to make his defense as would disclosure of the specific classified
            information.” 18 U.S.C. app. 3 § 6(c)(1). This requirement arises out of the
13          Constitution’s guarantee that all criminal defendants must have “ ‘a meaningful
            opportunity to present a complete defense.’ ” Holmes v. South Carolina, 547 U.S.
14
            319, 324 (2006) . . . . [T]he fundamental purpose of a substitution under CIPA is
15          “to place the defendant, as nearly as possible, in the position he would be in if the
            classified information [itself] . . . were available to him.” United States v.
16          Moussaoui, 382 F.3d 453, 477 (4th Cir.2004); see also United States v. Rezaq, 134
            F.3d 1121, 1143 (D.C.Cir.1998).
17
     Sedaghaty, 728 F.3d at 904-05 (emphasis added).
18

19          Mr. Smirnov’s attempt to invoke these statutory protections—and, receive a complete

20   disclosure—is hamstrung by the fact that he has not seen any of the material that the government
21

22

23

24   Office must validly invoke what has been referred to as the “national security privilege” and the
     “classified information privilege” under United States v. Reynolds, 345 U.S. 1 (1953). See, e.g.,
25   United States v. Yunis, 867 F.2d 617, 623 (D.C. Cir. 1989); United States v. Mejia, 448 F.3d 436,
     456 (D.C. Cir. 2006); United States v. Libby, 453 F. Supp. 2d 35, 38 n.5, 40 (D.D.C. 2006). This
26   entails “strict requirements,” including an “affidavit of the responsible department head for the
     information pertinent to its decision concerning the privilege.” Black v. Sheraton Corp. America,
27
     564 F.2d 531, 543 (D.C. Cir. 1977).
28
                                                      5
         Case 2:24-cr-00091-ODW         Document 98 Filed 08/05/24            Page 6 of 11 Page ID
                                                #:1291


1    deems “classified,” much less learned how this Court plans to assure the government’s drafting
2    of a “substitute” to replace the missing discovery. 2
3
             Nevertheless, to avoid the probability (condemned in Sedaghaty and, evidently, approved
4
     by this Court, see ECF No. 94 at 2, §(1) (court approves of “substitutions or summaries,” in
5
     addition to redactions and deletions) of receiving a biased substitute or summary, Mr. Smirnov
6

7    urges this Court to grant this motion for independent, defense attorneys’ “eyes-only” access to

8    the totality of the discovery, so it can make its own decisions about the propriety and structure of

9    Mr. Smirnov’s defense. Compare Sedaghaty, 728 F.3d at 905-6 (reversing conviction where
10
     government provides biased “summary” in lieu of classified information: “The wording of the
11
     summary bolsters the inculpatory section while discrediting the exculpatory section . . . . Because
12
     the underlying documents are classified, we are constrained in our comments about the
13
     summary. But it is a fundamental principle underlying CIPA that the summary should be
14

15   evenhanded, worded in a neutral fashion and not tilted or shaded to the government’s advantage.

16   See S. Rep. No. 96–823 at 9 (1980), reprinted in 1980 U.S.C.C.A.N. at 4302–03 (stating that the
17   ‘judge should ensure that a substitution . . . is crafted so that the Government obtains no unfair
18
     advantage in the trial’”)).
19

20

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24   2
             Between April 5 and July 31, 2024, the government has produced discovery, none of
25   which was designated as “classified.” Mr. Smirnov notes that, while his attorneys (Messrs.
     Chesnoff and Schonfeld) have received interim security clearances, they have not yet received full
26   clearances, which will happen only after both attorneys are interviewed and approved by the FBI.
     In any event, given the defense’s non-receipt of “classified” discovery to date, Mr. Smirnov
27
     respectfully reserves his right to supplement or amend this motion after he receives and lawfully
28   inspects such items.
                                                      6
         Case 2:24-cr-00091-ODW        Document 98 Filed 08/05/24             Page 7 of 11 Page ID
                                               #:1292


1    C.      A Court-Ordered, Eyes-Only Inspection is Preferable
2
             A motion pursuant to Section 4 of CIPA is a critical juncture where the government asks
3
     the Court to endorse the withholding of discoverable material by determining, inter alia, whether
4
     the material is “relevant or helpful” to the defense. In effect, because CIPA “creates no new rights
5

6    of or limits on discovery of a specific area of classified information,” prosecutors filing such a

7    “CIPA motion” seek permission to withhold Brady material. See, e.g., United States v. Yunis, 867

8    F.2d 617, 621 (D.C. Cir. 1989). Such motions thus require the District Court to 1) stand in a
9
     defendant’s shoes, 2) predict defenses that the defendant has not yet presented and is entitled to
10
     develop and modify until the case is tried, and, on the other hand, 3) protect important defense
11
     rights to exculpatory information relevant to trial and sentencing (including impeachment
12
     material).
13

14           Given the foregoing—and given that Section makes clear that the Court “may” allow the

15   prosecutors to shield their submission from Mr. Smirnov—we respectfully submit that this Court
16   should not do so and should, instead, grant attorneys’-eyes-only access to the paragraphs and pages
17
     of the submission that are not portion-marked by the Government as “classified.”
18
             While recognizing that this Court has discretion to proceed ex parte in this matter, Mr.
19
     Smirnov urges the Court to exercise that discretion under CIPA’s Section 4 in the context of: (1)
20

21   the general presumption against ex parte proceedings in criminal cases; 3 (2) the post-CIPA

22   development of bodies of law under FOIA, in habeas proceedings, and in motions to suppress

23

24   3
             See, e.g., United States v. Stevens, 2008 WL 8743218, at *5 (D.D.C. 2008) (“[E]x parte
25   communications between prosecutors and the trial judge “are greatly discouraged and should only
     be permitted in the rarest of circumstances.” (cleaned up)); see also United States v. Napue, 834
26   F.3d 1311, 1318 (7th Cir. 1987) (“[T]he district court in exercising its discretion must bear in mind
     that ex parte communications are disfavored. They should be avoided whenever possible and, even
27
     when they are appropriate, their scope should be kept to a minimum.”).
28
                                                      7
         Case 2:24-cr-00091-ODW          Document 98 Filed 08/05/24              Page 8 of 11 Page ID
                                                 #:1293


1    FISA intercepts where parties are granted greater access to filings by the Defense Department and
2    USIC agencies that summarize sensitive information; 4 and (3) a case involving cleared defense
3
     counsel who have already been granted access to sensitive classified materials and are subject to a
4
     CIPA § 3 protective order that carefully governs the handling of such materials. See supra at n.2
5
     (noting that FBI has not yet fully “cleared” either defense attorney and urging that this process be
6

7    expedited and classified material be produced under protective order).

8            Under these circumstances, our request for access to the classified portions of the CIPA §

9    4 filing is not inconsistent with the 1980 House Report, as quoted in United States v. Mejia, 448
10
     F.3d 436 (D.C. Cir. 2006). It would not “defeat the very purpose of the discovery rules” to grant
11
     cleared counsel access to even the classified portions of the submission. Id. at 457. Similarly, the
12
     committee notes to Rule 16 (which are themselves quoted in Mejia) provide that prosecutors may
13
     seek a protective order authorizing the withholding of discoverable material based on a submission
14

15   that is “in whole or in part” ex parte. Id. (emphasis added). Mr. Smirnov’s position is that the “in

16   part” portion of that language is the prudent and fair course in this case.
17           Mejia itself is not to the contrary. First, before addressing whether the ex parte district court
18
     proceedings in that case constituted an abuse of discretion, the District of Columbia Circuit Court
19
     “examined the documents de novo,” and found that “they are not helpful to the defense.” 448 F.3d
20
     at 457 (emphasis added). Moreover, the Court conducted its with the benefit of a developed trial
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22   record, including the defendant’s substantive arguments. By contrast, trial courts have expressed

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     4
24           See, e.g., ECF No. 20-3 at 7-12 ¶¶ 17-27 in Judicial Watch, Inc. v. DOJ, No. 18 Civ. 2107
     (TSC) (D.D.C. Oct. 18, 2019) (publicly filed declaration explaining FBI’s application of National
25   Security Act in FOIA case); ECF No. 10-2 at 7-8 in Smith v. NARA, No. 18 Civ. 2048 (TSC)
     (D.D.C. Dec. 20, 2018) (publicly filed declaration explaining NARA’s Glomar response in FOIA
26   case); ECF No. No. 93-2, Doe v. Mattis, No. 17 Civ. 1928 (TSC) (June 1, 2018) (publicly filed
     redacted declaration Defense Department official); ECF No. 67-2 at 10-15, ACLU, et al. v. DOJ,
27
     et al., No. 10 Civ. 436 (D.D.C. Nov. 25, 2014) (publicly filed declaration explaining CIA’s
28   application of National Security Act in FOIA case).
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      Case 2:24-cr-00091-ODW           Document 98 Filed 08/05/24             Page 9 of 11 Page ID
                                               #:1294


1    concerns about resolving CIPA Section 4 motions ex parte before defendant like Mr. Smirnov
2    have had a similar opportunity to fully develop their defenses. See, e.g., United States v. Libby,
3
     429 F. Supp. 2d 46, 48 (D.D.C. 2006) (“[I]n those rare situations where the government is
4
     compelled to make an ex parte Section 4 filing containing arguments in support of immateriality,
5
     the government should fully explain why the ex parte filing is necessary and appropriate.”); United
6

7    States v. Rezaq, 899 F. Supp. 697, 707 (D.D.C. 1995). Finally, the Circuit Court in Mejia signed

8    off on the ex parte CIPA procedure only after concluding that the classified materials were “not

9    helpful to the defense” and, therefore, not subject to Brady’s strictures. See 448 F.3d at 457
10
     (emphasis added).
11
            Additionally, in United States v. Stillwell, 986 F.3d 196 (2d Cir. 2021), the Second Circuit
12
     reached a different result in a Mejia-like situation—a result that provided for disclosure of a
13
     classified Section § 4 submission to cleared defense counsel. See supra at n.2 (urging that FBI
14

15   fully clear both defense attorneys forthwith). The Government in Stillwell—as in Mejia—

16   submitted a Section 4 motion to the trial court ex parte, without notice to the defendants or, for
17   that matter, even to the prosecutors. The Second Circuit vacated the district judge’s ex parte
18
     “protective order [in Stillwell] and eventually ordered that the withheld [classified] information be
19
     disclosed, first to the [prosecutor], and then to defense counsel.” United States v. Hunter, 32 F.4th
20
     22, 28 (2d Cir. 2022); see also id. at 25 (district court ex parte order vacated by Second Circuit
21

22   had restricted both parties’ access to “certain classified documents”). Under this precedent, Mr.

23   Smirnov is entitled to review the redacted version of the government’s Section 4 filing and, after

24   full security clearances are granted for his attorneys, all the unredacted, classified discovery,
25   notwithstanding this Court’s prior ruling in ECF No. 94.
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     Case 2:24-cr-00091-ODW          Document 98 Filed 08/05/24            Page 10 of 11 Page ID
                                              #:1295


1    D.     Conclusion
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            Mr. Smirnov thus respectfully requests that this Court grant this motion and impose a
3
     protective order (under whatever conditions it deems appropriate) to grant Mr. Smirnov’s defense
4
     team access to the complete discovery provided or referenced in the Government’s CIPA filings.
5

6           DATED this 5th day of August, 2024.

7                                                Respectfully Submitted:
8
                                                 CHESNOFF & SCHONFELD
9
                                                  /s/ David Z. Chesnoff
10
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16
                                                 Attorneys for Defendant
17                                               ALEXANDER SMIRNOV

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     Case 2:24-cr-00091-ODW          Document 98 Filed 08/05/24            Page 11 of 11 Page ID
                                              #:1296


1                                   CERTIFICATE OF SERVICE
2
            I hereby certify that on this 5th day of August, 2024, I caused the forgoing document to be
3
     filed electronically with the Clerk of the Court through the CM/ECF system for filing; and served
4
     on counsel of record via the Court’s CM/ECF system.
5

6
                                          /s/ Camie Linnell____
7                                         Employee of Chesnoff & Schonfeld
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